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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Spiegel, et al.,
                                    Plaintiff(s),
                                                                          ORDER

                 - against -                                          7:16-CV-03680 (CS)


Paradise, et al.,
                                    Defendant(s).
-----------------------------------------------------------X
Seibel, J.

         It having been reported to this Court that the claims in this case have been settled, IT IS

HEREBY ORDERED that this action is discontinued with prejudice but without costs; provided,

however, that if settlement is not consummated within thirty days of the date of this order,

Plaintiff may apply by letter within the thirty-day period for restoration of the action to the

calendar of the undersigned, in which event the action will be restored.

         SO ORDERED.

Dated:
         White Plains, New York
         September 24, 2018



                                                               ___________________________
                                                               CATHY SEIBEL, U.S.D.J.
